                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                Bankruptcy Case
                                                                                19−10686−tmd
                                                                           No.:
                                                                   Chapter No.: 7
                                                                         Judge: Tony M. Davis
IN RE: Abigail Sarah Alexander , Debtor(s)




                                        NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   11/25/19 at 10:30 AM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 21 Motion to Sell Property Free and
     Clear of Liens 11 USC 363(f) (21 Day Objection Language) filed by Brian Talbot Cumings for Trustee Ron
     Satija ) Hearing Scheduled For 11/25/2019 at 10:30 AM at Austin Courtroom 1 .....IF TIME ESTIMATE
     FOR BOTH SIDES EXCEEDS 30 MINUTES, PLEASE E−MAIL THE COURTROOM DEPUTY AT
     JENNIFER_LOPEZ@TXWB.USCOURTS.GOV AND ALL AFFECTED PARTIES FOR A SPECIAL
     SETTING. (Lopez, Jennifer)


Dated: 10/17/19
                                                          Yvette M. Taylor
                                                          Clerk, U. S. Bankruptcy Court




                                                                                          [Hearing Notice (BK)] [NtchrgBKap]
